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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                     Plaintiff,

        v.                               Crim. Action No.: 1:20-CR-85-3
                                                           (Judge Kleeh)

  JOANNA MASIAS,

                     Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 166],
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On September 8, 2021, the Defendant Joanna Masias (“Masias”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Two of the

  Indictment, charging her with Attempt to Introduce a prohibited

  Object (Narcotic), in violation of Title 18, U.S.C., Section

  1791(a)(1) and 1791(b)(1).          This Court referred Defendant’s plea

  of guilty to the magistrate judge for the purpose of administering

  the allocution, pursuant to Federal Rule of Criminal Procedure 11,

  making     a   finding   as   to   whether   the   plea   was   knowingly   and

  voluntarily entered, and recommending to this Court whether the

  plea should be accepted. Masias stated that she understood that

  the magistrate judge is not a United States District Judge, and

  Masias consented to pleading before the magistrate judge.
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  USA v. MASIAS                                                      1:20-CR-85
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        Based upon Defendant Masias’s statements during the plea

  hearing    and   the   Government’s       proffer   establishing    that   an

  independent factual basis for the plea existed, the magistrate

  judge found that Defendant Masias was competent to enter a plea,

  that the plea was freely and voluntarily given, that she was aware

  of the nature of the charges against her and the consequences of

  her plea, and that a factual basis existed for the tendered plea.

  The magistrate judge issued a Report and Recommendation Concerning

  Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 166] finding a

  factual basis for the plea and recommending that this Court accept

  Defendant Masias’s plea of guilty to Count Two of the Indictment.

        The magistrate judge released Defendant Masias on the terms

  of the Order Setting Conditions of Release. [Dkt. No. 21].

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R.        He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R.            Neither the Defendant

  nor the Government filed objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R

  [Dkt. No. 166], provisionally ACCEPTS Defendant Masias’s guilty

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  USA v. MASIAS                                                    1:20-CR-85
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  plea, and ADJUDGES her GUILTY of the crime charged in Count Two of

  the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until

  it has received and reviewed the presentence investigation report

  prepared in this matter.

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

  following:

        1.     The Probation Officer shall undertake a presentence

  investigation of Masias, and prepare a presentence investigation

  report for the Court;

        2.     The Government and Defendant Masias shall each provide

  their narrative descriptions of the offense to the Probation

  Officer by October 19, 2021;

        3.     The presentence investigation report shall be disclosed

  to Defendant Masias, counsel for Defendant, and the Government on

  or before December 13, 2021; however, the Probation Officer shall

  not disclose any sentencing recommendations made pursuant to Fed.

  R. Crim. P. 32(e)(3);

        4.     Counsel may file written objections to the presentence

  investigation report on or before December 27, 2021;

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        5.    The Office of Probation shall submit the presentence

  investigation report with addendum to the Court on or before

  January 10, 2022; and

        6.    Counsel may file any written sentencing memorandum or

  statements      and   motions   for   departure    from   the   Sentencing

  Guidelines, including the factual basis for the same, on or before

  January 10, 2022.

        The Court further ORDERS that prior to sentencing, counsel

  for Defendant review with her the revised Standard Probation and

  Supervised Release Conditions adopted by this Court on November

  29, 2016, pursuant to the standing order entered by Chief Judge

  Groh, In Re: Revised Standard Probation and Supervised Release

  Conditions, 3:16-MC-56.

        The Court will conduct the Sentencing Hearing for Defendant

  on January 31, 2022, at 1:00 P.M., at the Clarksburg, West Virginia

  point of holding court for a 2-hour period, as counsel has notified

  the Court that additional time may be required for this hearing.

        It is so ORDERED.




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        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: October 12, 2021


                                     /s/ Thomas S. Kleeh
                                     THOMAS S. KLEEH
                                     UNITED STATES DISTRICT JUDGE




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